                                     Case 2:19-cv-08549-ODW-SK Document 1 Filed 10/03/19 Page 1 of 19 Page ID #:1



                                       1   JAMES A. MARISSEN (SBN: 257699)
                                           jmarissen@grsm.com
                                       2   RACHEL A. WEITZMAN (SBN: 307076)
                                           rweitzman@grsm.com
                                       3   GORDON REES SCULLY MANSUKHANI, LLP
                                           2211 Michelson Drive, Suite 400
                                       4   Irvine, CA 92612
                                           Telephone: (949) 255-6996
                                       5   Facsimile: (949) 474-2060
                                       6   Attorneys for Plaintiff
                                           CMA CGM S.A.
                                       7
                                       8                         UNITED STATES DISTRICT COURT
                                       9                        CENTRAL DISTRICT OF CALIFORNIA
                                      10
                                      11   CMA CGM S.A.                                    CASE NO.
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                      12                              Plaintiff,           COMPLAINT
                                      13         vs.
         Irvine, CA 92612




                                      14   CTS INTERNATIONAL LOGISTICS
                                           CO., LTD.
                                      15
                                                                      Defendant.
                                      16
                                      17
                                      18         COMES NOW Plaintiff CMA CGM S.A., and as its Complaint and causes
                                      19   of action against Defendant CTS INTERNATIONAL LOGISTICS CO., LTD.
                                      20   (hereinafter “CTS”) alleges as follows:
                                      21                             JURISDICTION AND VENUE
                                      22         1.     This is a maritime claim for breach of contract and unpaid freight,
                                      23   detention, demurrage and/or storage costs pursuant to ocean bills of lading and an
                                      24   ocean carrier's tariff and comprises an admiralty and maritime claim pursuant to
                                      25   Rule 9(h) of the Federal Rules of Civil Procedure and 28 U.S.C. § 1333(1). In the
                                      26   alternative, it presents a federal question under 28 U.S.C. § 1331 in that it arises
                                      27   under the Shipping Act of 1984, as amended, 46 U.S.C. §§ 40101 et seq.
                                      28   ///
                                                                                     -1-
                                     Case 2:19-cv-08549-ODW-SK Document 1 Filed 10/03/19 Page 2 of 19 Page ID #:2



                                       1         2.     Venue is proper in this Court under 28 U.S.C. § 1391(b) in that the
                                       2   transactions that form the basis for the subject contracts for ocean carriage
                                       3   occurred within the judicial district of this Court.
                                       4                                         PARTIES
                                       5         3.     Plaintiff CMA CGM S.A. (hereinafter “CMA CGM”) is now and was
                                       6   at all material times a corporation duly organized and existing under the laws of
                                       7   France with a principal place of business at 4 Quai d’Arenc, 13002 Marseille,
                                       8   France. CMA CGM was, and is, an ocean carrier and common carrier of goods for
                                       9   hire on ocean-going vessels between United States ports and foreign ports.
                                      10         4.     Defendant CTS is a business entity organized and existing under the
                                      11   laws of the People’s Republic of China (“PRC”) with its principal place of
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                      12   business located at 20/F, Tian An Centre, No. 338 Nanjing Road (West), Shanghai
                                      13   200003. CTS maintains offices in more than one city in PRC, including at 4/F
         Irvine, CA 92612




                                      14   CTS Warehouse Kaiping Road No. 2, Overseas Chinese Town, Nanshan District,
                                      15   Shenzhen, China.
                                      16         5.     Defendant CTS is, and at all material times was, the names consignee
                                      17   on the bills of lading relevant to this Complaint and also issued house bills of
                                      18   lading for the shipments at issue in this Complaint.
                                      19         6.     Defendant CTS is, and at all material times was, a non vessel owning
                                      20   common carrier (“NVOCC”) doing business in the United States with licensing
                                      21   from the Federal Maritime Commission.
                                      22         7.     Defendant CTS is, and at all material times was, bonded with the
                                      23   Federal Maritime Commission in relation to its NVOCC activities in the United
                                      24   States.
                                      25                              FACTUAL BACKGROUND
                                      26         8.     Between November 2015 to January 2016, Multi-Trans Shipping
                                      27   Agency Inc., DJL Mining LLC, and DJL Mining Corp. (“Shippers”) booked two
                                      28   hundred sixty (260) containers of cargo (the “Cargo”) for shipment with CMA
                                                                                    -2-
                                     Case 2:19-cv-08549-ODW-SK Document 1 Filed 10/03/19 Page 3 of 19 Page ID #:3



                                       1   CGM for carriage from St. Louis, Missouri to Gaolan, China, via the Port of New
                                       2   York. The Shippers represented and warranted that the containers contained
                                       3   “copper ingot” or “zinc oxide.” In accordance with the booking, CMA CGM
                                       4   designated “Multi-Trans Shipping Agency Inc. c/o DJL Mining Corp” as the
                                       5   shipper of the Cargo and “Shenzhen CTS International Logistics Co., Ltd.,” being
                                       6   the Shenzhen branch of Defendant CTS International Logistics Co., Ltd., as the
                                       7   consignee of the Cargo.
                                       8          9.    CMA CGM received the Cargo and transported part of the Cargo in
                                       9   one hundred and forty two (142) containers from Missouri to New York and then
                                      10   by various vessels from New York to Gaolan, pursuant to the terms and
                                      11   conditions of CMA CGM Bills of Lading Numbers: NAM2232064A,
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                      12   NAM2240126, NAM2240131, NAM2240023, NAM2240135, NAM2258766,
                                      13   and NAM2258900 (the “CMA CGM Bills of Lading”).
         Irvine, CA 92612




                                      14          10.   Defendant CTS, in its capacity as an NVOCC, issued its own “house”
                                      15   bills of lading covering the transportation of the Cargo from St. Louis to Gaolan
                                      16   (the “CTS Bills of Lading”). The CTS Bills of Lading named “Asia Global
                                      17   Renewable Energy Corp” and “DJL Mining Corp.” as the shipper of the Cargo.
                                      18   The Cargo was consigned “to order,” thus no named consignee was designated in
                                      19   the CTS Bills of Lading. Under the terms of the CTS Bills of Lading, CTS was
                                      20   permitted to subcontract the whole or part of the handling, storage, or carriage of
                                      21   the Cargo with other carriers. Here, CMA CGM was the subcontracted ocean
                                      22   carrier.
                                      23          11.   CMA CGM is informed and believes and thereupon alleges that
                                      24   Defendant CTS was at all material times the shipper, holder, consignee, receiver of
                                      25   the Cargo, and/or person owning or entitled to the possession and control of the
                                      26   Cargo and/or the CMA CGM Bills of Lading, and/or the person or entity acting on
                                      27   behalf of such persons and thus qualify as a “Merchant” under Clause 1 of the
                                      28   CMA CGM Bills of Lading (defined below). Defendant CTS was the entity for
                                                                               -3-
                                     Case 2:19-cv-08549-ODW-SK Document 1 Filed 10/03/19 Page 4 of 19 Page ID #:4



                                       1   whose account the transportation services were provided by CMA CGM, was the
                                       2   party that received and benefitted from the transportation services provided by
                                       3   CMA CGM, and was the entity responsible for payment of the charges relating to
                                       4   the Cargo.
                                       5         12.         The Cargo was tendered to CMA CGM for transportation between
                                       6   United States and Gaolan, China on ocean vessels for which freight and other
                                       7   charges were lawfully incurred pursuant to the terms of the CMA CGM Bills of
                                       8   Lading and/or CMA CGM’s applicable tariff(s).
                                       9         13.         CMA CGM is informed and believes and thereupon alleges that
                                      10   Defendant CTS received and accepted the CMA CGM Bills of Lading.
                                      11         14.         The CMA CGM Bills of Lading contract terms and conditions provide
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                      12   the following:
                                      13               ...
         Irvine, CA 92612




                                      14               1. “Merchant” includes the Shipper, Holder, Consignee,
                                      15               Receiver of the Goods, any Person owning or entitled to the
                                      16               possession of the Goods or of this Bill of Lading and anyone
                                      17               acting on behalf of any such Person.
                                      18               ...
                                      19               10. MATTERS AFFECTING PERFORMANCE
                                      20               If at any time the Carriage is or likely to be affected by any
                                      21               hindrance, risk, delay, difficulty or disadvantage of any kind
                                      22               (other than the inability of the Goods safely or properly to be
                                      23               carried or carried further which is provided for in Clause 24
                                      24               infra) and howsoever arising (even though the circumstances
                                      25               giving rise to such hindrance, risk, delay, difficulty or disad-
                                      26               vantage existed at the time this contract was entered into or the
                                      27               Goods were received for Carriage), the Carrier (whether or not
                                      28
                                                                                       -4-
                                     Case 2:19-cv-08549-ODW-SK Document 1 Filed 10/03/19 Page 5 of 19 Page ID #:5



                                       1           the Carriage is commenced) may, without prior notice to the
                                       2           Merchant and at the sole discretion of the Carrier, either:
                                       3           (a) carry the Goods to the contracted Port of Discharge or Place
                                       4           of Delivery, whichever is applicable, either by the intended or
                                       5           the alternative route to that indicated in this Bill of Lading or
                                       6           that which is usual for Goods consigned to that Port of
                                       7           Discharge or Place of Delivery. If the Carrier elects to invoke
                                       8           the terms of this Clause 10 (a) hereof, he shall be entitled to
                                       9           charge such additional Freight, including extra war risk charge
                                      10           as the Carrier may determine, or
                                      11           (b) suspend the Carriage of the Goods and store them ashore or
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                      12           afloat upon the Terms and Conditions of this Bill of Lading and
                                      13           endeavour to forward them as soon as possible, but the Carrier
         Irvine, CA 92612




                                      14           makes no representations as to the maximum period of
                                      15           suspension. If the Carrier elects to invoke the Terms and
                                      16           Conditions of this Clause 10 (b) then, he shall be entitled to
                                      17           charge such additional Freight as the Carrier may determine,
                                      18           or
                                      19           (c) abandon the Carriage of the Goods and place the Goods at
                                      20           the Merchant’s disposal at any place or port which the Carrier
                                      21           may deem safe and convenient, whereupon the responsibility of
                                      22           the Carrier in respect of such Goods shall cease. The Carrier
                                      23           shall nevertheless be entitled to full Freight on the Goods
                                      24           received for Carriage, and the Merchant shall pay any
                                      25           additional costs of the Carriage to, and delivery and storage at,
                                      26           such place or port.
                                      27           If the Carrier elects to use an alternative route under
                                      28
                                                                                   -5-
                                     Case 2:19-cv-08549-ODW-SK Document 1 Filed 10/03/19 Page 6 of 19 Page ID #:6



                                       1           Clause 10 (a) or to suspend the Carriage under Clause 10 (b)
                                       2           this shall not prejudice its right subsequently to abandon the
                                       3           Carriage under Clause 10 (c).
                                       4           ...
                                       5           11. NOTIFICATION AND DELIVERY
                                       6           ...
                                       7           (2) The Merchant shall take delivery of the Goods within the
                                       8           time provided for in the Carrier’s Applicable Tariff (see Clause
                                       9           2). If the Merchant fails to do so the Carrier shall be entitled,
                                      10           without notice, to unpack the Goods if packed in Containers
                                      11           and / or to store the Goods ashore, afloat, in the open or under
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                      12           cover, at the sole risk of the Merchant. Such storage shall
                                      13           constitute due delivery hereunder, and thereupon the liability of
         Irvine, CA 92612




                                      14           the Carrier in respect of the Goods stored as aforesaid shall
                                      15           cease, and the costs of such storage (if paid or payable by the
                                      16           Carrier or any agent or Sub-Contractor of the Carrier) shall
                                      17           forthwith upon demand be paid by the Merchant to the Carrier.
                                      18           (3) If, whether by act or omission, the Merchant directly or
                                      19           indirectly prevents, delays or hinder the discharge or the
                                      20           delivery of the Goods, any costs, expenses or liability so
                                      21           resulting shall be for its full account.
                                      22           (4) If the Merchant fails to take delivery of the Goods within
                                      23           ten days of delivery becoming due under Clause 11 (2), or if in
                                      24           the opinion of the Carrier they are likely to deteriorate, decay,
                                      25           become worthless or incur charges whether for storage or
                                      26           otherwise in excess of their value, the Carrier may, without
                                      27           prejudice to any other rights which he may have against the
                                      28           Merchant, without notice and without any responsibility
                                                                             -6-
                                     Case 2:19-cv-08549-ODW-SK Document 1 Filed 10/03/19 Page 7 of 19 Page ID #:7



                                       1           whatsoever attaching to him, sell, destroy or dispose of the
                                       2           Goods and apply any proceeds of sale in reduction of the sums
                                       3           due to the Carrier from the Merchant in respect of this Bill of
                                       4           Lading.
                                       5           ...
                                       6           24. CARRIAGE AFFECTED BY CONDITION OF
                                       7           CONTAINERS
                                       8           If it appears at any time that, due to their condition, the Goods
                                       9           cannot safely or properly be carried (or carried further), either
                                      10           at all or without incurring any additional expense or taking any
                                      11           measure(s) in relation to the Container or the Goods the Carrier
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                      12           may without notice to the Merchant (but as its agent only) take
                                      13           any measure(s) and/or incur any additional expense to carry or
         Irvine, CA 92612




                                      14           to continue the Carriage thereof, and/or sell or dispose of the
                                      15           Goods, and/or abandon the Carriage and/or store them ashore or
                                      16           afloat, under cover or in the open, at any place, whichever the
                                      17           Carrier, in its absolute discretion, considers most appropriate,
                                      18           which abandonment, storage, sale or disposal shall be deemed
                                      19           to constitute due delivery under this Bill of Lading. The
                                      20           Merchant shall indemnify the Carrier against any additional
                                      21           expense and liability so incurred.
                                      22           ...
                                      23           26. SHIPPER’S / MERCHANT’S RESPONSIBILITY
                                      24           (1) All of the Persons coming within the definition of Merchant
                                      25           in Clause 1 shall be jointly and severally liable to the Carrier
                                      26           for the due fulfilment of all obligations undertaken by the
                                      27           Merchant in this Bill of Lading, and remain so liable throughout
                                      28           Carriage notwithstanding their having transferred this Bill of
                                                                                -7-
                                     Case 2:19-cv-08549-ODW-SK Document 1 Filed 10/03/19 Page 8 of 19 Page ID #:8



                                       1               Lading and/or title to the Goods to any third party. Such
                                       2               liability shall include but not be limited to court costs, expenses
                                       3               and attorney’s fees incurred in collecting charges and sums due
                                       4               to the Carrier.
                                       5               (2) The Shipper warrants to the Carrier that the particulars
                                       6               relating to the Goods as set out overleaf have been checked by
                                       7               the Shipper on receipt of this Bill of Lading and that such
                                       8               particulars, and any other particulars furnished by or on behalf
                                       9               of the Shipper, are adequate and correct. The Shipper also
                                      10               warrants that the Goods are lawful Goods and contain no
                                      11               contraband.
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                      12               (3) The Merchant shall indemnify the Carrier against all loss,
                                      13               damage, fines and expenses arising or resulting from any breach
         Irvine, CA 92612




                                      14               of any of the warranties in Clause 26 (2) hereof or from any
                                      15               other cause in connection with the Goods for which the Carrier
                                      16               is not responsible.
                                      17         15.      CMA CGM is informed and believes that the Cargo was loaded and
                                      18   discharged by various carrying vessels in Hong Kong pursuant to instructions
                                      19   received by Defendant CTS. However, Defendant CTS refused to provide
                                      20   shipping instructions and/or customs documentations and/or take delivery of one
                                      21   hundred forty-two (142) containers and they remained idle at the marine terminal
                                      22   in Hong Kong (the “Idle Containers”) between November 2015 and July 2016
                                      23   thereby accruing various daily and other charges including, for example, detention
                                      24   and demurrage. Having delivered the Cargo, CMA CGM fully performed all of its
                                      25   obligations under the CMA CGM Bills of Lading.
                                      26         16.      The Idle Containers consist of the following shipments:
                                      27                  (a)    A shipment of thirty-two (32) containers, being containers
                                      28   numbered: CAXU6839855, CMAU1260368, ECMU1498575, ECMU2067680,
                                                                          -8-
                                     Case 2:19-cv-08549-ODW-SK Document 1 Filed 10/03/19 Page 9 of 19 Page ID #:9



                                       1   ECMU2160350, GVCU2031158, TEMU2582159, TGHU3933727,
                                       2   TRHU1800990, TRHU1941941, UNIU2050809, CMAU1374205, TCLU3968299,
                                       3   TEMU2556421, TRLU9294599, IPXU3356253, DVRU1578906, CMAU0255480,
                                       4   DVRU1619965, DVRU1584175, GLDU3261380, CMAU1536076,
                                       5   GESU2689634, IPXU3210660, CAXU6182185, CMAU1178814,
                                       6   CMAU1804950, CMAU1856212, CMAU1932396, ECMU1843352,
                                       7   TCLU2888542 and XINU1436155 that were shipped under CMA CGM Bill of
                                       8   Lading No. NAM2258766 and CTS Bill of Lading Nos. WTSI15110011 and
                                       9   WTSI1511013;
                                      10              (b)   A shipment of twenty (20) containers, being containers
                                      11   numbered: CNCU1504390, TGHU3249252, TRLU8829720, CAXU6679192,
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                      12   CLHU3070810, CNCU1501112, ECMU1622650, FCIU3908096, GESU2754365,
                                      13   TRLU8975577, CLHU3397676, CMAU0172703, CNCU1504831,
         Irvine, CA 92612




                                      14   ECMU1425671, TRLU9041970, ECMU1634666, CAXU6777603,
                                      15   CMAU1710980, GESU2874210 and UNIU2049182 that were shipped under CMA
                                      16   CGM Bill of Lading No. NAM2240126 and CTS Bill of Lading No.
                                      17   WTSI15100049;
                                      18              (c)   A shipment of twenty (20) containers, being containers
                                      19   numbered: CAIU3410042, CARU3722535, CMAU1238003, TEMU2287718,
                                      20   TRHU2123718, CMAU1923060, SEGU1075997, SEGU1787271, TCKU2099594,
                                      21   CMAU1313128, CMAU1845028, TGHU1300611, TGHU2791680,
                                      22   CAXU6647549, UESU2365454, GESU2710520, GESU2550968, GVCU2099219,
                                      23   CAXU6740902 and ECMU1389527 that were shipped under CMA CGM Bill of
                                      24   Lading No. NAM2240131 and CTS Bill of Lading No. WTSI15100052;
                                      25              (d)   A shipment of twenty (20) containers, being containers
                                      26   numbered: CMAU1507988, CMAU1854009, GESU1095561, FCIU3382329,
                                      27   CMAU1097250, TCLU3757830, TCLU7325080, TGHU1322626,
                                      28   TGHU1341800, ECMU1537265, ECMU1862603, TRHU3109400,
                                                                        -9-
                             Case 2:19-cv-08549-ODW-SK Document 1 Filed 10/03/19 Page 10 of 19 Page ID #:10



                                      1   TCLU7248281, CMAU1501845, ECMU1689870, GESU2437885,
                                      2   TGHU3445548, ECMU1483600, CRXU1872270 and CRXU1918257 that were
                                      3   shipped under CMA CGM Bill of Lading No. NAM2240023 and CTS Bill of
                                      4   Lading No. WTSI1510900064;
                                      5               (e)    A shipment of twenty (20) containers, being containers
                                      6   numbered: UNIU2056860, CMAU1904162, CMAU1209216, ECMU2164232,
                                      7   CMAU1430994, CMAU2040497, TGHU1174370, CMAU0376862,
                                      8   CMAU2072848, GESU1121207, SEGU1781571, TRHU2758853, TRLU3763472,
                                      9   TRLU8966770, TRLU8994598, CMAU1932966, BMOU2052556,
                                     10   TRHU3122254, CMAU1788252 and FCIU4598328 that were shipped under CMA
                                     11   CGM Bill of Lading No. NAM2240135 and CTS Bill of Lading No.
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12   WTSI15100068;
                                     13               (f)    A shipment of twenty-two (22) containers, being containers
         Irvine, CA 92612




                                     14   numbered: CMAU1410051, IPXU3883681, ECMU2067171, TGHU0052655,
                                     15   ECMU1670283, CRXU3097464, BMOU2169711, CMAU1702665,
                                     16   CMAU0353050, CMAU1700472, CRXU1868686, ECMU1516663,
                                     17   CMAU0026988, ECMU2066339, XINU1528251, CMAU0008156,
                                     18   CMAU0471664, CMAU1734127, CMAU2181197, ECMU2070684,
                                     19   CAIU2361555 and TCLU3839250, that were shipped under CMA CGM Bill of
                                     20   Lading No. NAM2232064A and CTS Bill of Lading No. WTSI15090066; and
                                     21               (g)    A shipment of eight (8) containers, being containers numbered:
                                     22   TGHU3096153, ECMU2221862, ECMU1717307, ECMU2064721, that were
                                     23   shipped under CMA CGM Bill of Lading No. NAM2258900 and CTS Bill of
                                     24   Lading No. WTSI15110034.
                                     25         17.   Despite receiving notice of arrival of the Cargo in Hong Kong,
                                     26   Defendant CTS failed and refused provide the required shipping instructions
                                     27   and/or customs documentation for the Cargo to be further transported from Hong
                                     28   Kong to Gaolan, China. Further preventing discharge of the Cargo in Gaolan, a
                                                                               -10-
                             Case 2:19-cv-08549-ODW-SK Document 1 Filed 10/03/19 Page 11 of 19 Page ID #:11



                                      1   third-party purporting to act as the owner of the Cargo and/or holder of the CMA
                                      2   CGM Bills of Lading filed an emergency action in Hong Kong and obtained an
                                      3   injunction preventing the further movement of the Cargo from Hong Kong.
                                      4         18.     CMA CGM is informed and believes and thereupon alleges that the
                                      5   contents of the Idle Containers which comprise the shipments were loose mud and
                                      6   sand instead of “copper ingot” or “zinc oxide” which, as mislabeled or
                                      7   misdeclared goods, are banned from importation into the PRC. This
                                      8   misdescription is in violation of the shipper’s (Merchant’s) warranty under Clause
                                      9   26 of the CMA CGM Bills of Lading.
                                     10         19.     CMA CGM subsequently arranged for the destruction of the Cargo
                                     11   in the Idle Containers in Vietnam. CMA CGM incurred costs totaling
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12   US$331,872.00 for the transshipment and destruction of the Cargo in the Idle
                                     13   Containers.
         Irvine, CA 92612




                                     14         20.     As a result of Defendant CTS’s failure to provide the required
                                     15   shipping instructions and/or customs documentation and/or take delivery of the
                                     16   Idle Containers, and its misdeclaration on the CMA CGM Bills of Lading, CMA
                                     17   CGM has incurred damages, liabilities, charges, expenses, fees and costs for
                                     18   storage, detention, demurrage, customs and local fees, inspection, transportation,
                                     19   salvage, transshipment, disposal, and destruction.
                                     20         21.     Under the terms of the CMA CGM Bills of Lading, Defendant CTS
                                     21   is obligated to pay these costs, damages, and expenses due and owing by
                                     22   Defendant CTS to CMA CGM totaling approximately US$1,869,191.14.
                                     23         22.     CMA CGM fully performed all of its obligations under the CMA
                                     24   CGM Bills of Lading. Defendant CTS received and benefitted from the
                                     25   transportation services provided by CMA CGM, and is responsible for payment
                                     26   of these various damages, expenses and costs relating to the Idle Containers.
                                     27
                                     28
                                                                                  -11-
                             Case 2:19-cv-08549-ODW-SK Document 1 Filed 10/03/19 Page 12 of 19 Page ID #:12



                                      1                              FIRST CAUSE OF ACTION
                                      2                            (For Breach of Maritime Contract)
                                      3          23.   CMA CGM refers to and incorporates by reference as though fully
                                      4   set forth at length herein its allegations in paragraphs 1 through 22 above.
                                      5          24.   CMA CGM transported and carried the Cargo in the Idle Containers
                                      6   as described herein, at the request and for the benefit of the Defendant CTS, in
                                      7   accordance with the terms and conditions of the CMA CGM Bills of Lading.
                                      8          25.   CMA CGM fully performed all of its obligations under the CMA
                                      9   CGM Bills of Lading and carried the Cargo in the Idle Containers to and
                                     10   discharged the Cargo at Hong Kong, as demanded by Defendant CTS.
                                     11          26.   Under the terms of the CMA CGM Bills of Lading and applicable
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12   law, the Defendant CTS was required to provide shipping instructions and/or
                                     13   customs documentation and/or to accept delivery of the Cargo within the time
         Irvine, CA 92612




                                     14   provided for in CMA CGM’s Bills of Lading and/or CMA CGM’s applicable
                                     15   tariff, and they agreed to be responsible and liable for any and all damages,
                                     16   liabilities, charges, costs, expenses and fees arising from or resulting from their
                                     17   failure to provide shipping instructions and/or customs documentation and/or to
                                     18   accept delivery of the Cargo.
                                     19          27.   Under the terms of the CMA CGM Bills of Lading and applicable
                                     20   law, Defendant CTS also warranted and guaranteed the accuracy of the
                                     21   particulars of the Cargo booked for shipment, including the description and
                                     22   nature of the Cargo, and agreed to indemnify CMA CGM for any loss, damage
                                     23   and expenses arising from inaccuracies in such particulars, the violation of
                                     24   government laws and regulations, and for the shipment of banned cargo to the
                                     25   PRC.
                                     26          28.   Under the terms of the CMA CGM Bills of Lading and applicable
                                     27   law, Defendant CTS further agreed to be liable and responsible for any and all
                                     28
                                                                                   -12-
                             Case 2:19-cv-08549-ODW-SK Document 1 Filed 10/03/19 Page 13 of 19 Page ID #:13



                                      1   freight and other charges due under the CMA CGM Bills of Lading and/or
                                      2   applicable tariffs.
                                      3         29.    Defendant CTS breached the terms of the CMA CGM Bills of
                                      4   Lading by, inter alia, failing to provide the required shipping instructions and/or
                                      5   customs documentations and/or accepting or arranging delivery of the Cargo,
                                      6   misdeclaring the particulars of the contents of the Idle Containers, including their
                                      7   nature and being banned from import into the PRC, failing to pay all charges
                                      8   relating to the transportation, storage and handling of the Cargo in the Idle
                                      9   Containers, and by failing to pay CMA CGM the damages, liabilities, detention,
                                     10   demurrage, charges, salvage costs, transshipment and destruction costs, and other
                                     11   expenses and fees arising from Defendant CTS’s breach or breaches of the CMA
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12   CGM Bills of Lading.
                                     13         30.    As a proximate cause of Defendant CTS’s breach or breaches of the
         Irvine, CA 92612




                                     14   CMA CGM Bills of Lading, breach of warranty, and the matters set forth herein,
                                     15   CMA CGM has incurred, and Defendant CTS is liable to CMA CGM for,
                                     16   damages in an amount exceeding US$1,869,191.14, which includes, but is not
                                     17   limited to, amounts due for detention, demurrage, storage, customs fees and
                                     18   penalties, salvage and disposal costs, delivery costs, transshipment and
                                     19   destruction costs, inspection costs and administrative costs.
                                     20         31.    Under the terms of the CMA CGM Bills of Lading, CMA CGM is
                                     21   also entitled to recover from Defendant CTS attorneys’ fees and costs incurred as
                                     22   a result of Defendant CTS’s breach or breaches and/or incurred in collecting the
                                     23   outstanding amounts from Defendant CTS.
                                     24                            SECOND CAUSE OF ACTION
                                     25                            (Money Due Under Marine Tariff)
                                     26         32.    CMA CGM refers to and incorporates by reference as though set
                                     27   forth herein at length its allegations in paragraphs 1 through 31 above.
                                     28
                                                                                   -13-
                             Case 2:19-cv-08549-ODW-SK Document 1 Filed 10/03/19 Page 14 of 19 Page ID #:14



                                      1          33.   CMA CGM transported and carried the Cargo in the Idle Containers
                                      2   as described herein, at the request and for the benefit of Defendant CTS, and in
                                      3   accordance with the terms and conditions of the CMA CGM Bills of Lading and
                                      4   subject to the rates and charges in its tariffs on file with the Federal Maritime
                                      5   Commission.
                                      6          34.   Under the said tariffs, CMA CGM is required to collect and is
                                      7   entitled to recover from Defendant CTS, and Defendant CTS is required to pay
                                      8   CMA CGM, all unpaid demurrage, detention, port and terminal storage charges,
                                      9   and any other damages, liabilities, charges, penalties, costs, expenses and fees
                                     10   arising from the carriage of the Idle Containers, Defendant CTS’s failure to
                                     11   provide required shipping instructions and/or customs documentation and/or
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12   accept delivery of the Idle Containers, Defendant CTS’s misdeclaration of the
                                     13   nature of the contents of the Idle Container and/or shipping banned Cargo to the
         Irvine, CA 92612




                                     14   PRC.
                                     15          35.   Despite demand for payment, Defendant CTS has failed to pay
                                     16   CMA CGM amounts due under the tariffs and tariff compensation is due, owing
                                     17   and unpaid to CMA CGM from Defendant CTS in an amount exceeding
                                     18   US$1,869,191.14. Additional charges continue to accrue in accordance with the
                                     19   terms of said tariffs, together with attorneys’ fees, costs and expenses incurred in
                                     20   collecting said charges.
                                     21                              THIRD CAUSE OF ACTION
                                     22                                        (Negligence)
                                     23          36.   CMA CGM refers to and incorporates by reference as though set
                                     24   forth herein at length its allegations in paragraphs 1 through 35 above.
                                     25          37.   At all material times herein, Defendant CTS owed CMA CGM a
                                     26   legal duty to exercise due care to provide required shipping instructions and/or
                                     27   customs documentation, to accept delivery of the Idle Containers in Hong Kong
                                     28   and/or Gaolan, to ensure that the particulars of the contents of the Idle Containers
                                                                                   -14-
                             Case 2:19-cv-08549-ODW-SK Document 1 Filed 10/03/19 Page 15 of 19 Page ID #:15



                                      1   were not misrepresented or misdeclared to CMA CGM, and to ensure cargo
                                      2   banned from importation into the PRC was not shipped. The legal duty of
                                      3   Defendant CTS to CMA CGM arose because Defendant CTS is a party to the
                                      4   CMA CGM and/or the CTS Bills of Lading. The legal duty of Defendant CTS to
                                      5   CMA CGM also arose independently of the aforesaid bills of lading because of
                                      6   many factors, including, without limitation, the foreseeability of harm to CMA
                                      7   CGM from their acts and omissions, the degree of certainty that CMA CGM
                                      8   suffered injuries, the closeness of the connection between Defendant CTS’
                                      9   conduct and the injury suffered, the moral blame of Defendant CTS’ conduct,
                                     10   and the availability, cost and prevalence of insurance to cover risks involved.
                                     11         38.    Defendant CTS breached said duty of care by, inter alia, failing to
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12   provide required shipping instructions and/or customs documentations and/or
                                     13   accept delivery of the Idle Containers in Hong Kong or otherwise arranging for
         Irvine, CA 92612




                                     14   its delivery, for negligently misrepresenting and/or misdeclaring the particulars
                                     15   of the Cargo in the Idle Containers, including the nature of the shipments, and/or
                                     16   for shipping banned cargo to the PRC.
                                     17         39.    As a proximate result of the negligence of Defendant CTS, CMA
                                     18   CGM has incurred, and Defendant CTS is liable to CMA CGM for, additional
                                     19   freight, storage, demurrage, detention, liabilities, charges, penalties, costs,
                                     20   expenses and fees in an amount exceeding US$1,869,191.14 plus any additional
                                     21   damages and costs as they continue to accrue.
                                     22                           FOURTH CAUSE OF ACTION

                                     23                    (For Work and Labor Performed/Quantum Meruit)
                                                40.    CMA CGM refers to and incorporates by reference as though set
                                     24
                                          forth herein at length its allegations in paragraphs 1 through 39 above.
                                     25
                                                41.    In or about November 2015 and January 2016, Defendant CTS
                                     26
                                          became indebted to CMA CGM for the work and labor performed by CMA
                                     27
                                     28
                                                                                    -15-
                             Case 2:19-cv-08549-ODW-SK Document 1 Filed 10/03/19 Page 16 of 19 Page ID #:16



                                      1   CGM at the request and for the benefit of Defendant CTS, for which Defendant
                                      2   CTS agreed to pay CMA CGM.
                                      3         42.     Despite due demand, Defendant CTS owes CMA CGM an amount
                                      4   exceeding US$1,869,191.14 for said work and labor performed and/or CMA
                                      5   CGM is entitled to recover the value of said work and labor pursuant to the
                                      6   doctrine of quantum meruit.
                                      7                              FIFTH CAUSE OF ACTION
                                      8                            (For Intentional Misrepresentation)
                                      9         43.     CMA CGM refers to and incorporates by reference as though set
                                     10   forth in paragraphs 1 through 42 above.
                                     11         44.     Defendant CTS falsely described to CMA CGM the Cargo in the
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12   Idle Containers and/or submitted documents to CMA CGM falsely describing
                                     13   the Cargo in the Idle Containers.
         Irvine, CA 92612




                                     14         45.     Defendant CTS knew that the Cargo in the Idle Containers was not
                                     15   “copper ingots” or “zinc oxide.” It knew that the representation to CMA CGM that
                                     16   it was shipping “copper ingots” or “zinc oxide” was false when made and false
                                     17   when CMA CGM subsequently asked Defendant CTS for the required shipping
                                     18   instructions and/or customs documentation and/or to take possession of the Idle
                                     19   Containers.
                                     20         46.     Defendant CTS knew that CMA CGM would reasonably rely
                                     21   on Defendant CTS’ intentional misrepresentations, and CMA CGM did
                                     22   reasonably rely on Defendant CTS’ representations when accepting the Idle
                                     23   Containers for shipment, to its detriment.
                                     24         47.     CMA CGM’s damages as a result of Defendant CTS’ actions
                                     25   include but are not limited to additional storage, demurrage, detention,
                                     26   transshipment and destruction costs, liabilities, charges, penalties, other
                                     27   costs, expenses and fees in an amount exceeding US$1,869,191.14 plus any
                                     28   additional damages and costs as they continue to accrue.
                                                                                 -16-
                             Case 2:19-cv-08549-ODW-SK Document 1 Filed 10/03/19 Page 17 of 19 Page ID #:17



                                      1                              SIXTH CAUSE OF ACTION
                                      2                             (For Negligent Misrepresentation)
                                      3         48.    CMA CGM refers to and incorporates by reference as though set
                                      4   forth in paragraphs 1 through 47 above.
                                      5         49.    Defendant CTS falsely described to CMA CGM the Cargo in the
                                      6   Idle Containers and/or submitted documents to CMA CGM falsely describing
                                      7   the Cargo in the Idle Containers.
                                      8         50.    Defendant CTS had no reasonable grounds to believe that the
                                      9   Cargo in the Idle Containers was “copper ingots” or “zinc oxide” and intended
                                     10   for CMA CGM to rely on the representation that these shipments consisted of
                                     11   copper ingots or zinc oxide.
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12         51.    Defendant CTS’s misrepresentations to CMA CGM were negligent.
                                     13         52.    CMA CGM’s damages as a result of Defendant CTS’ actions include
         Irvine, CA 92612




                                     14   but are not limited to additional freight, storage, demurrage, detention,
                                     15   transshipment and destruction costs, liabilities, charges, penalties, other costs,
                                     16   expenses and fees in an amount exceeding US$1,869,191.14 plus any additional
                                     17   damages and costs as they continue to accrue.
                                     18                            SEVENTH CAUSE OF ACTION
                                     19                                  (For Declaratory Relief)
                                     20         53.    CMA CGM refers to and incorporates by reference as though set
                                     21   forth herein at length its allegations contained in paragraphs 1 through 52
                                     22   above.
                                     23         54.    There is an actual controversy between CMA CGM and Defendant
                                     24   CTS regarding the legal rights and duties of the parties with respect to the Cargo
                                     25   in the Idle Containers. CMA CGM contends that the Defendant is responsible
                                     26   and liable to CMA CGM for any and all additional freight, storage, demurrage,
                                     27   detention, transshipment and destruction costs, liabilities, charges, penalties, other
                                     28   costs, expenses and fees arising from the carriage of the Cargo in the Idle
                                                                                  -17-
                             Case 2:19-cv-08549-ODW-SK Document 1 Filed 10/03/19 Page 18 of 19 Page ID #:18



                                      1   Containers, Defendant CTS’ failure to provide required shipping instructions
                                      2   and/or customs documentation and/or accept delivery of the Cargo in the Idle
                                      3   Containers, Defendant CTS’ misdescription and misdeclaration of the particulars
                                      4   of the Cargo in the Idle Containers, and/or arising from Defendant CTS shipping
                                      5   loose mud and dirt to the PRC. CMA CGM is informed and believes and
                                      6   thereupon alleges that the Defendant CTS denies it is responsible and liable to
                                      7   CMA CGM for the aforesaid damages and dispute in some manner the
                                      8   contentions of CMA CGM.
                                      9         55.    CMA CGM seeks a declaration of the rights and liabilities of CMA
                                     10   CGM and Defendant CTS pursuant to 28 U.S.C. Section 2201.
                                     11                                         PRAYER
Gordon Rees Scully Mansukhani, LLP
  2211 Michelson Drive, Suite 400




                                     12               WHEREFORE, Plaintiff CMA CGM prays for judgment against
                                     13   Defendant CTS as follows:
         Irvine, CA 92612




                                     14               1.     That the Court order judgment in favor of CMA CGM and
                                     15   against the Defendant CTS in an amount not less than US$1,869,191.14, for any
                                     16   and all additional freight, storage, demurrage, detention, transshipment and
                                     17   destruction costs, liabilities, charges, penalties, other costs, expenses and fees
                                     18   caused by Defendant CTS’s breach or breaches of the CMA CGM Bills of
                                     19   Lading and/or applicable tariffs, negligence, for all amounts due under CMA
                                     20   CGM’s tariffs, and for CMA CGM’s work and services performed or quantum
                                     21   meruit as well any additional damages and costs that continue to accrue at an
                                     22   amount to be established at trial;
                                     23               2.     That the Court declare the rights and liabilities of the parties;
                                     24               3.     That the Court award CMA CGM its attorneys’ fees, costs
                                     25   and expenses incurred as a result of Defendant CTS’s breach or breaches and/or
                                     26   in collecting the sums due from Defendant CTS;
                                     27                4.      That the Court award CMA CGM interest on all of the above as
                                     28   well as its costs of suit; and
                                                                                    -18-
                              Case 2:19-cv-08549-ODW-SK Document 1 Filed 10/03/19 Page 19 of 19 Page ID #:19



                                       1               5.    That the Court award such other and further relief as the Court
                                           deems just and proper.
                                       2
                                       3   Dated: October 4, 2019                    GORDON REES SCULLY
                                                                                     MANSUKHANI, LLP
                                       4
                                       5
                                                                                     By: /s/ James A. Marissen
                                       6                                                 JAMES A. MARISSEN
                                                                                         RACHEL A. WEITZMAN
                                       7
                                                                                         Attorneys for Plaintiff
                                       8                                                 CMA CGM S.A.
                                       9
                                      10
                                      11
 Gordon Rees Scully Mansukhani, LLP
   2211 Michelson Drive, Suite 400




                                      12
                                      13
          Irvine, CA 92612




                                      14
                                      15
                                      16
                                      17
                                      18
                                      19
                                      20
                                      21
                                      22
                                      23
                                      24
                                      25
                                      26
                                      27
                                      28
1151275/47823030v.1
                                                                                  -19-
